UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS: ! 22 7 py fread
No.

Matthew Haney, as Trustee of the
Gooseberry Island Trust
Plaintiff COMPLAINT

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)
)
v. )
)
Town of Mashpee, and Ron Bonvie, )
Sharon Sangeleer, William Blaisdell, )
Jonathan Furbush, and
Scott Goldstein, as they are
members and are collectively the
Zoning Board of Appeals of the
Town of Mashpee
6 Defendants

INTRODUCTION

1. This action arises from a final decision of the Defendant, Zoning Board of Appeals of the

Town of Mashpee, denying the Plaintiffs’ applications for variances to construct a single-

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H & S REALTY LLC
OPERATING ACCOUNT CITIZENS BANK 1099

_ §-7017/2110

kkk ;
* FOUR HUNDRED FIVE AND 00/100 DOLLARS

TO THE
ORDER OF

- . . 10/04/2024
. United States District Court $405.00*****

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